UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF NEW YORK x
Wy 980%
Bryan Christian, ' UU
plaintiff \
COMPLAINT
. 42 U.S.C. 1983
~ against - Jury TrialDemand

Police Officer John Doe

79th Precinct

Dr. John Doe

Dr. Jane Boe

Woodhall Hospital,
defendants

 

  

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Please take notice that the above named plaintiff Noe
will proceed with this action against the named defendants in
thier official and individual capacities.

1. Bryan Christian - Plaintiff
1818 Hazen Street
Bast Elmhurst, N.Y. 11370

2. Police Officer John Doe - Arresting Officer

79th Precinet
263 Tompkins Ave.
Brooklyn, N.Y. 11216

Dr. John Doe

Dr. dane Doe

Woodhall Hospital
Flushing Ave.
Brooklyn, new York

 
STATEMENT OF  FActs

3. On Wednesday August 6, 2014 at approximately 11:45 a.m.,
I was being chased by a group of men in the Bedford-Styvesant

section of Brooklyn.

4. This chase was the result of an alleged Robbery thgt
took place moments earlier where one of the men from the
group indicated to the other men that I was an accomplice to
@ Suspect who fled the scene.

>» I eventually grew tired and couldn't run anymore

when the group of men finally caught up to me.

6 At this point I was attacked where I was Choked, punched,
kicked, and then wrestled to the ground when one man out of the
group yelled, ! Hold for the police ! '.

7» While I was pinned to the ground by these men ( a
group of up to five$5) or six(6)), by thier knees , feet, and
hands, the po9lice arrived on the scene.

8. Officers dashed from their cars in which Police Officer
John Doe snatched my left arm while I was still on the ground,
Squeezed a bracelet to a set of handcuffs all the way tight on
my left wrist until it could be closed no more, pulled thés same
arm up while twisting it in a counter clock direction and forced
it behind my back where this officer then handcuffed my right
wrist.

9. While I was suffering excruciating pain from my left
wrist, this Officer then lifted me off the ground by the same
left arm causing additional pain, and as I yelled, ' This cuff
is to tight. You're breaking my arm. Can you please loosen the
handcuff ?', this officer pulled me to his patrol car where I
was pushed into back seat.

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10. Shortly after we arrived at the 79th precinct despite
demanding that the Officer take me to the scene of the alleged
robbery where it could be determined that I did not commit
robbery against anyone.

11. While at the precinct I complained of being in pain,
particularlly my left wrist, behind my left ear where I suffered
a blow from one of the men in the group that gave chase, and to
right ankle which had been swollen by this time.

12. Some time after arrivingf at the precinct, I was
awakened by what appeared to be a medical staff who offered me
a gown after being told I deficated on myself as a result of
the occuring events.

13. From what I remember at this Point I was trying to make
out- what questions were being asked when I thought I heard a
unintelligible question and demanded these individuals to leave

me alonwe.

14. Still experiencing pain, I remember being told that
I would be taken to the hospital. This was early on the
morning of Friday August 8, 2014, almost two(2) days later.

15. Once arriving at the hospital, I remember complaining
about a lump/bruise behind my left ear along with swelling on
my right ankle, mt left wrist and my right thumb.

16. An x-ray was taken of my right thumb and right ankle,
although nothing was done about my left wrist and the bruise
behind my left ear.

17. Sometime after the x-rays were done a female staff who
I believed to be a doctor explained that I would be prescribed
pain medication and she also wrapped my right ankle with an
aqce bandange.

18. TI inquired as to the bruise behind my led£t ear and the

pain from my left wrist and this female staff responded by

saying, ' take the medication '.

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19, was Cischarged from Woodhell Hoapital on the morning
Friday August 8, 2074,

be]

20, Anproximately three(3) weeks later I was seen by a
Doctor on Riker's Island, Thuis Doctor issued @ cane to assist
me, and ordered x-rays for the areas where I wes still
experiencing pain.

27, I still take pain medication and await the x-ray results,

22, This plaintiff hes moit brought the facts in this action

to any other Court, State nor Federel,

23. This sleintiff hes filed civil actions in the nast,
The first was filed eaoproximately in 2000 and wes heard
before The Honotable Judge Charles Brient and was settled for
5,500.00. The second wes also filed in the Southern District,
althougnt TI cannot recell the Judge, and this case was
subsequently dismissed due to my failure to orosecute the

case. The latter was filed approximetely 2011.

24, This plaintiff now seeks relief from the Court in
that the police officer who executed the arrest, did sa with
a force which wes not necessary as the plaintiff maintained innocence

and still did mot resist the officer's actions,

25. The excessive force applied by this officer caused injury
to this pleintiff who still experiences pain. The same force
additionally viclated rights of the plaintiff which are protected
by United States Constitution under the Sth and 14th Amendments,

26. Or. John and Jane Doe failed to provide due care to this
plaintiff and thers caused plaintiff? to experience sdditionsl and
unnecessary oaaint. No x-ray was done ta the left wrist ner
was ther any such check up invalving the bruise behind my left
Bar,

27. Based on information and belief the practices at
woodhall Hospital neglect to provide due care to patients who

ate. accompanied by Law Enforcement Officers,

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28, The acts and non-acts of Dr.'s John and Jane Doe, alang
with Woodhall Hospital has placed this plaintiff at risk for
additional unneceessary pain and injuries thereby violating
rights which are safeguarded by the Constitution of The
United States, .

29. Where the facts in this case will disclose the
plaintiff's rights have been viclated, the plaintiff must be
compensated in the amount of $1,000,000,00,

I declare umder penalty of perjury that the foregoing is

true and correct,

Signed this \\ day of OC 2014.

Notary Public ¥ —

Bryap/Christian # 9a5- 14-0094 (

 

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NOTARY PUBLIC -STATE OF NEW YORK .
No. O11G6163948 tet & tla a

Qualified in Queens County

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